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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

  CHAMBER OF COMMERCE OF THE
  UNITED STATES OF AMERICA, et al.,

                          Plaintiffs
                                                                  Case No. 6:22-cv-00381-JCB
          v.

 CONSUMER FINANCIAL PROTECTION
 BUREAU, et al.,

                          Defendants.



         DFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR A STATUS
                             CONFERENCE

         Plaintiffs have filed a motion requesting a status conference “or something similar” to

 “discuss timing”— namely, the timing of a decision from this Court on the pending cross dispositive

 motions. Mot. for Stat. Conf. (Mot.), ECF No. 35, at 1. Plaintiffs insist that they “do not want to

 rush this Court.” Id. at 2. But, they say, “[t]he parties finished briefing these issues months ago,” id.,

 and they are trying to determine whether to file a motion for preliminary injunctive relief or to hold

 off rather than start “another round of briefing that might prove unnecessary.” Id.

         In short, Plaintiffs want to receive a status update from the Court, rather than to give a status

 update to the Court. Defendants welcome the opportunity to appear at any status conference the

 Court may deem appropriate, but do not share Plaintiffs’ view regarding the need for such a

 conference. The Court will render its decision in due time, and Plaintiffs can make a motion for any

 relief they feel is necessary without the Court first holding a status conference.

         What has been written above addresses the nub of Plaintiffs’ request, but the prospective

 motion for preliminary injunctive relief discussed in Plaintiffs’ filing deserves a few words. To start,



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 Plaintiffs contend that, in discussions with Plaintiffs’ counsel, counsel for Defendants “floated the

 idea of temporarily enjoining the update . . .” Mot. at 1. Defendants will not engage in an extended

 discussion of “idea[s]” “floated”—or not—between counsel months ago regarding the most

 efficient way to litigate this case, as doing so would not advance the litigation. Suffice it to say that

 the parties did not reach any agreement other than what is reflected in the joint stipulation

 (regarding the briefing schedule, the administrative record, and discovery), see ECF No. 15, and

 Defendants have never wavered in their conviction that Plaintiffs should not prevail on a single one

 of their claims.

          Nor does Plaintiffs’ assertion that “Defendants have continued to suggest that this Court

 could award temporary relief in favor of Plaintiffs” advance this litigation. Mot. at 2 (cleaned up).

 Unsurprisingly, Defendants have not actually issued such an unalloyed endorsement of preliminary

 injunctive relief. Instead, Defendants have noted that the Court could potentially conserve resources

 by awarding temporary relief to Plaintiffs on their funding claim “if the Court decides it has jurisdiction.”

 Mot. to Dismiss and for Summ. J, ECF No. 22, at 23-24 (emphasis added). But, of course,

 jurisdiction is lacking. See, e.g., id. at 9-20.

          Finally, Plaintiffs assert that urgency is now the order of the day because “the CFPB

 announced in its June 2023 Fair Lending Report that it is pursuing enforcement actions based on the

 expansive interpretation of its unfairness authority” set out in the examination manual update

 challenged in this case. Mot. at 2. In fact, the Fair Lending Report does not support Plaintiffs’ calls

 for haste. To start, the 2023 report states only that the Bureau is “looking into potential

 discriminatory conduct, including under ECOA and the statutory prohibition on unfair acts or

 practices targeted at vulnerable populations and leading to bias in automated systems and models.”

 See Fair Lending Report at 5, CFPB (June 2023), https://perma.cc/NFQ2-7N5H. No enforcement

 action has been filed by the Bureau on the ground that particular discriminatory conduct is also


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 unfair.1 Moreover, that the Bureau is “looking into potential discriminatory conduct,” including

 certain conduct that may constitute an unfair act or practice, cannot come as a surprise to Plaintiffs.

 The challenged updates were issued over 15 months ago, and they did not, at in any event, create the

 prohibition on unfairness about which Plaintiffs now complain—Congress did that almost 13 years

 ago in Dodd-Frank. In the end, the weakness of Plaintiffs’ call for haste is demonstrated by the fact

 that, more than 15 months after the examination manual was updated, they train their focus not on

 any alleged specific harm to their members, but on some general statements (including a statutorily

 required reporting obligation) in an annual report.




 DATED: July 13, 2023                                      Respectfully Submitted,


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   Plaintiffs also highlight, Mot. at 2, the section of the Fair Lending Report that refers to the Federal
 Trade Commission’s enforcement action against the Passport Automotive Group. Fair Lending
 Report, at 30 (noting that “the FTC alleged that defendants violated the [Equal Credit Opportunity
 Act, 15 U.S.C. § 1691 et seq.] and Regulation B, and also violated the FTC Act, by engaging in unfair
 practices, by discriminating against Black and Latino consumers, [and] charging them higher
 financing costs and illegal junk fees.”). While the Passport action is instructive, see, e.g., ECF No. 22
 at 5, 28, its inclusion in the Fair Lending Report is a matter of statutory obligation: “The CFPB is
 statutorily required to file a report to Congress annually describing the administration of its
 functions under ECOA,” including by “summarizing public enforcement actions taken by other
 agencies with administrative enforcement responsibilities under ECOA.” Fair Lending Report at 28;
 15 U.S.C. § 1691f (noting that “each report of the Bureau shall include . . . a summary of the
 enforcement actions taken by each of the agencies assigned administrative enforcement
 responsibilities under section 1691c of this title”).
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                                 CERTIFICATE OF SERVICE

        I hereby certify on this 13th Day of July, 2023, a true and correct copy of this document was

 served electronically by the Court’s CM/ECF system to all counsel of record.



                                                s/ Justin M. Sandberg
                                               JUSTIN M. SANDBERG




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